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 3   Fresno, California 93720
     Telephone: (559) 449-9069
 4   Facsimile: (559) 513-8530

 5   Attorney for Defendant,

 6   CHRISTOPHER VALDEZ

 7

 8

 9                                      UNITED STATES DISTRICT COURT

10                                     EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                       CASE NO. 1:15-cr-0329-DAD-BAM (003)

13                        Plaintiff,                 STIPULATION TO CONTINUE STATUS
                                                     CONFERENCE TO NOVEMBER 27, 2017;
14           v.                                      [PROPOSED] ORDER THEREON

15   CHRISTOPHER VALDEZ,

16                        Defendant.

17

18
             IT IS HEREBY STIPULATED by and between the Defendant, CHRISTOPHER
19
     VALDEZ, his attorney of record, CAROL ANN MOSES, and the Assistant United States
20
     Attorney, KIMBERLY A. SANCHEZ, that the Status Conference in the above-captioned matter
21

22   ///

23   ///
24   ///
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28
     STIPULATION TO CONTINUE STATUS
     CONFERENCE TO NOVEMBER 27, 2017;
     [PROPOSED] ORDER THEREON
                                                                                           1
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 1   currently scheduled for November 13, 2017 at 1:00 PM in Courtroom 9, be continued until
 2   November 27, at 1:00 PM.
 3
             The status conference is to assure that new Defense Counsel has received discovery in the
 4
     case. Previous counsel James Homola and new counsel, Carol Moses spoke on the phone and
 5
     have arranged the transfer of discovery to occur during the week of November 6, 2017.
 6

 7           Defense counsel begins a trial in Madera on November 13, 2017 and is unable to appear at

 8   the currently scheduled Status Conference on November 13, 2017.

 9           It is further stipulated by the Parties that time is excluded under the Speedy Trial Act.
10   Dated: October 30, 2017                                /s/ Carol Ann Moses
11                                                          CAROL ANN MOSES
                                                            Attorney for Defendant,
12                                                          CHRISTOPHER VALDEZ

13   Dated: October 30, 2017                                /s/ Kimberly A. Sanchez
                                                            KIMBERLY A. SANCHEZ
14
                                                            Assistant United States Attorney
15
                                            [PROPOSED] ORDER
16
             The Court, having reviewed the above request HEREBY ORDERS AS FOLLOWS:
17                        1. The Status Conference for CHRISTOPHER VALEZ, currently scheduled
18                        for November 13, 2017 at 1:00 PM shall be continued until November 27,
19                        2017 at 1:00PM before Judge McAuliffe.
                          2. Good cause exists to exclude time under the Speedy Trial Act for the above
20
                          stated reason and the ends of justice outweigh the interest of the public and the
21
                          defendant in a speedy trial 18 U.S.C. § 3161(h)(7)(A)(B).
22

23
     IT IS SO ORDERED.
24

25       Dated:     November 1, 2017                            /s/ Barbara A. McAuliffe                 _
                                                         UNITED STATES MAGISTRATE JUDGE
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     STIPULATION TO CONTINUE STATUS
     CONFERENCE TO NOVEMBER 27, 2017;
     [PROPOSED] ORDER THEREON
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     STIPULATION TO CONTINUE STATUS
     CONFERENCE TO NOVEMBER 27, 2017;
     [PROPOSED] ORDER THEREON
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